                                 UNITED STATES DISTRICT COURT
                                EASTERN DISTRICT OF TENNESSEE
                                     KNOXVILLE DIVISION

   ANDREW JOSTEN LOVINGOOD,                           )
                                                      )
                  Plaintiff,                          )               3:19-CV-00009-DCLC
                                                      )
          vs.                                         )
                                                      )
   MONROE COUNTY, TENNNESSEE,                         )
   et al.,                                            )
                                                      )
                  Defendants.                         )
                                                      )

                                AMENDED SCHEDULING ORDER

         The parties filed a Joint Motion to Continue Trial [Doc. 52]. This case is currently set for

  a jury trial on March 16, 2021. See [Doc. 22]. Counsel for Plaintiff asserts that he currently has a

  7-day trial scheduled in this Court in Chattanooga beginning March 8, 2021, which was set prior

  to the filing of this case [Doc. 52, ¶ 4]. This would overlap with the start of trial in this case. The

  parties request a new trial date “[g]iven the Covid-19 exaggerated case number and the uncertainty

  of Jury Trials.” [Doc. 52, ¶7]. Currently, all jury trials set through February 28, 2021 are cancelled,

  per Standing Order 21-01. The Court acknowledges the severity of the pandemic in East

  Tennessee, as well as Plaintiff’s counsel’s scheduling conflict. Therefore, the motion is well-taken

  and GRANTED.

         Further, in consideration of the continuance of the trial in this matter, the Court shall

  reconsider Plaintiff’s Motion for Leave to File Response to Monroe County’s Motion for Summary

  Judgment [Doc. 48]. As the Court’s denial was based in large part on the prejudice to the Court

  given the approaching trial date, that is of less concern now. Therefore, the Court shall accept

  Plaintiff’s response in opposition [Doc. 49]. Defendant Monroe County shall have through

  January 28, 2021 to file any reply to Plaintiff’s response.


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            The key scheduling deadlines are listed below with further discussion set forth herein. Any

  dates and deadlines not specifically altered shall remain as previously set.


                                          Important Scheduling Dates

       Trial Date                                                       August 24, 2021

       Estimated Length of Trial                                             4 days

       Final Pretrial Conference                                  August 10, 2021, at 1:30 p.m.

       Non-dispositive Motions Due                                  Motions: June 25, 2021
                                                                    Responses: July 9, 2021

  1.        Other Scheduling Matters and Motion Practice
            a. Motions in Limine: Motions in limine (with supporting authority) relating to exhibits,
               depositions (including video depositions), and witnesses (other than experts) must be
               filed by June 25, 2021 and may be heard at the final pretrial conference. Responses
               must be filed on or before July 9, 2021.

                If a motion regarding exclusion of a portion of a recording is granted, the recording
                must be edited before trial to conform to the Court’s order or it will not be admitted
                into evidence.

                The Court will not entertain a motion to exclude expert testimony styled as a motion in
                limine. Any motions to exclude expert testimony pursuant to Fed. R. Evid. 702 must
                be filed on or before the Daubert motion deadline set forth in Section 5(d).

            b. Other Nondispositive Motions: All nondispositive motions other than motions in
               limine as addressed in Section 5(e) shall be filed on or before June 25, 2021. Responses
               must be filed on or before July 9, 2021.

            c. Final Exhibit and Witness Lists and Deposition Designations/Pretrial Disclosures:
               On or before thirty (30) days before the final pretrial conference, the parties shall
               make pretrial disclosures in accordance with the following:

                Provide to all parties a final witness list in accordance with Rule 26(a)(3). The list may
                be supplemented within five (5) days after service. After that time the list shall only be
                supplemented with leave of the court and for good cause;

                Exchange exhibit lists and designations of depositions, or portions thereof, to be placed
                in evidence and produce the exhibits for inspection by the opposing parties.

                Parties may file objections after the exhibit list exchange for the limited purpose of
                raising objections to authenticity and/or admissibility. Objections must be filed at least



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           twenty-one (21) days prior to the final pretrial conference. Unless written objection is
           made to the authenticity and/or admissibility of an exhibit, objections to the authenticity
           and/or admissibility of the exhibit is deemed waived unless excused for good cause.

           Furnish opposing parties a list of damages if damages are claimed.

           Failure to fully comply with this section will likely result in the exclusion of these
           items from use at trial in that party’s case-in-chief.

        d. Depositions for Evidence: Depositions for evidence (proof) shall be completed thirty
           (30) days prior to the final pretrial conference unless all parties agree otherwise, which
           agreement shall be memorialized in writing (and not be filed with the Court), or unless
           leave of Court is granted.

        e. Extensions of time. The parties may agree to extend the deadline for any disclosure
           required by Rule 26 or this scheduling order, but such agreement must be in writing to
           be effective. However, the deadlines for filing motions shall remain applicable, and
           will be extended only with court permission.

  2.    Final Pretrial Conference and Pretrial Orders

        a. Final Pretrial Conference: A final pretrial conference will be held on August 10,
           2021, at 1:30 p.m. at the James H. Quillen Courthouse, Courtroom 420.

        b. Final Pretrial Order: Unless counsel are otherwise directed, the following governs
           with regard to the pretrial order. A proposed final pretrial order shall be filed five (5)
           days before the final pretrial conference. The order shall contain the following recitals:

           (1) Jurisdiction

           (2) Admissions and Stipulations. The parties shall set out in numbered paragraphs each
               fact that is not in dispute. The parties are reminded that the Court, in an effort to
               reduce the need for evidence at and length of trial, expects the parties to approach
               this task in a good faith effort to agree on all relevant facts for which there is no
               reasonable basis for disagreement. In a jury trial, the section will be read to the
               jury and the jury will be instructed to accept these facts as true.

           (3) General Nature of the Claims of the Parties:

               i. Summary of plaintiff’s theory. For each defendant, each plaintiff shall concisely
               state each legal theory relied upon and the factual allegations the plaintiff expects
               to prove in support of each. Vague, conclusory, and general claims and allegations
               are unacceptable. A plaintiff is expected to know the claims and be able to state
               precisely and succinctly the issues to be tried. Each claim must be set out in a
               separately numbered and labeled paragraph.




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              ii. Summary of each defendant’s theory. For each claim against a defendant, each
              defendant shall concisely state each legal theory relied upon and the factual
              allegations the defendant expects to prove in support of each. Vague, conclusory,
              and general claims and allegations are unacceptable. A defendant is expected to
              know the defenses and be able must state precisely and succinctly the issues to be
              tried. Each defense must be set out in a separately numbered and labeled paragraph.

           (4) Contested Issues of Law

           (5) Damages. If damages cannot be stipulated, each party must show the method by
               which damages should be calculated if awarded.

           (6) Other Trial Information and Other Matters.

              i. That the pleadings are amended to conform to the pretrial order.

              ii. Estimated length of trial (in working days).

              iii. Possibility of settlement.

              Forty-five (45) days before the final pretrial conference (47 days if service by
              mail), plaintiff’s counsel shall serve opposing counsel with a proposed pretrial
              order containing the above items except for the theory of defendant. Within five (5)
              working days after receipt thereof, opposing counsel shall furnish plaintiff’s
              counsel with defendant’s theory and advise of any disagreement as to proposed
              pretrial order content. The parties shall make good faith efforts to reconcile all
              differences and without the Court’s intercession. If the parties cannot agree on a
              pretrial order, plaintiff’s counsel shall notify the undersigned’s office at least
              twenty-one (21) days before the final pretrial conference that the parties have been
              unsuccessful, after a good faith effort, to agree upon a pretrial order. Thereafter, the
              undersigned may enter a pretrial order prior to or after the pretrial conference.
              Proposed amendments to a pretrial order entered ex parte by the magistrate judge
              may be sought by motion filed ten (10) days following entry of the order.

              Failure to file an agreed pretrial order or to notify the undersigned’s office
              that one cannot be agreed upon as required herein may be deemed a failure to
              prosecute the action and the action dismissed. See Fed. R. Civ. P. 41(b).

        c. Filings Required after Final Pretrial Conference: At least seven (7) days before
           trial, counsel will:

           (1) File a final witness list identifying only the witnesses that will definitely be used at
               trial. This list shall not identify any witness not appearing on the witness list
               referenced in Section 5(g);

           (2) File a list of damages preferably stipulated to by all parties. If stipulation cannot be




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               reach, each party must file a list showing the method of determining damages;

           (3) File designations of depositions or portions thereof which will be read at trial;

           (4) File as an exhibit resumes of all experts witnesses;

           (5) Jointly submit pre-marked exhibits. The exhibits shall be sequentially numbered
               with Plaintiff’s exhibits first and Defendant’s exhibits thereafter. Plaintiff’s
               exhibits will be numbered one through the last exhibit Plaintiff expects to introduce
               and Defendant’s exhibit numbers will commence with the number immediately
               following Plaintiff’s last exhibit;

           (6) File briefs of all contested issues of law; and

           (7) For non-jury issues, file proposed findings of fact and conclusions of law with
               citations of authority supporting the latter.


        d. Jury Instructions: At least ten (10) days before trial, the parties shall file requests for
           jury instructions, citing with each request at least one supporting authority. The parties
           shall also submit the proposed instructions as a Word document via e-mail to chambers.

  3.    Trial: The trial will be in Greeneville, Tennessee before the undersigned and a jury
        beginning on August 24, 2021, at 9:00 a.m. The expected length of trial is four (4) days.

  4.    Courtroom Technology Equipment: The evidence presentation system facilitates and
        expedites hearings and trials. Attorneys are encouraged to familiarize themselves with this
        technology and to make full use of it. Counsel who intend to use the equipment should
        notify the courtroom deputy at least two days prior to a hearing or trial so the equipment is
        ready for use. The courtroom deputy, Ms. Kim Ottinger, will be available following the
        final pretrial conference to assist counsel with the use of the equipment. Counsel may also
        contact the courtroom deputy to schedule an alternate time to familiarize themselves with
        the equipment.

        The U.S. District Court for the Eastern District of Tennessee uses the Jury Evidence
        Recording system (JERS) to capture evidence electronically during a trial. Admitted
        evidence will be released to the jury during deliberations unless the Court specifically
        directs otherwise, and the evidence can be played back by the jury in the deliberation room.
        In order to best facilitate presentation of evidence at trial and use of the JERS, the parties
        are STRONGLY ENCOURAGED to provide their exhibits to the courtroom deputy no
        later than ONE WEEK before trial. The exhibits shall be the exhibits that were previously
        marked and numbered by the parties. The exhibits SHALL BE SUMBITTED IN
        ELECTRONIC FORMAT. It is preferred that the parties provide all electronic evidence
        files on USB drives, DVDs, or CDs.

        Information on JERS, specific requirements, and equipment supplied by the Court is



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        available on the Eastern District of Tennessee website (www.tned.uscourts.gov). Specific
        questions about Court-supplied equipment should be directed to the courtroom deputy
        (directory available on website).

  5.    Conclusion: A failure to comply with the provisions of this order likely will result in the
        exclusion of witnesses, exhibits, depositions, or damages, as the case may be.

        SO ORDERED:



                                             s/ Clifton L. Corker
                                             United States District Judge




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